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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF OKLAHOMA

SHANE NORRID, individually and on behalf          )
of all others similarly situated,                 )
KERMIT MICHAEL TROXEL, individually and           )
on behalf of all others similarly situated,       )
KEVIN HARTMAN, individually and on behalf         )
of all others similarly situated ,                )
TIM HYERS, individually and on behalf of all      )
others similarly situated,                        )
CHRISTOPHER LYNN WILLIAMS, individually           )
and on behalf of all others similarly situated,   )
CODIE SHREVE, individually and on behalf of       )
all others similarly situated,                    )
STEVEN ENGLAND, individually and on behalf        )
of all others similarly situated,                 )
                                                  )
                    Plaintiffs,                   )   Case No. 17-cv-401-RAW
                                                  )
vs.                                               )
                                                  )   Judge Ronald A. White
D.A.R.P., INC., an Oklahoma not for profit        )
corporation,                                      )
RAYMOND JONES,                                    )
HENDRENS PLASTICS, INC., an Arkansas              )
for profit corporation,                           )
R & R ENGINEERING CO., INC., an Oklahoma          )
for profit corporation,                           )
GLENN E. WHITMAN,                                 )
SIMMONS FOODS, INC., an Arkansas                  )
for profit corporation, and                       )
WESTERN ALLIANCE, INC.                            )
(formerly JER-CO INDUSTRIES, INC.),               )
an Oklahoma for profit corporation                )
                                                  )
                                                  )
                    Defendants.                   )




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                                    MOTION TO DISMISS

       COMES NOW the Defendant, R & R Engineering Co., Inc., through Levinson, Smith

and Huffman, P.C., its attorneys of record, and in support of this Motion to Dismiss, states as

follows:

                                        INTRODUCTION

       Plaintiffs’ action against R & R Engineering Co, Inc. (“R & R”) has no factual or legal

merit. In fact, of the Plaintiffs named in the class action, only one, Michael Troxel (“Troxel”),

has made allegations against R & R. Troxel alleges that he worked an average of 63 hours per

week. The Complaint admits that R & R paid for his labor. Troxel also admits that despite

injury while working at the R & R facility, he never attempted to make a workers compensation

claim. Troxel’s action against R & R should be dismissed.

       Troxel worked at R & R through a rehabilitation program offered by the State of

Oklahoma for convicted felons. Troxel was sentenced to serve time in an Oklahoma prison and

could have served his time in prison but chose to enter the rehabilitation program. At all times

Troxel could have rejected the Court’s referral to D.A.R.P. In addition, at all times, Troxel could

have refused his work assignment to R&R. Instead, Troxel chose D.A.R.P. over prison.

D.A.R.P. then placed Troxel at R & R.

       By law, this is not a case of involuntary servitude or human trafficking. Even more

importantly, Mr. Troxel has not plead facts supporting a claim of involuntary servitude or human

trafficking against R & R. As a result, R & R moves to dismiss for failure to state a claim upon

which relief can be granted. Fed.R.Civ.P. 12(b)(6).

        Alternatively, the State of Oklahoma is an indispensable party which cannot be joined

due to sovereign immunity. Troxel’s claims fail as a matter of law. As a result, alternatively R



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& R moves to dismiss Troxel’s claims under Federal Rule Civil Procedure 12(b)(7).

Fed.R.Civ.P. 12(b)(7).

                                  ARGUMENT AND AUTHORITY

    I.        Troxel does not have a claim for involuntary servitude under the TVPA (Count
              I).

           Troxel asserts that Defendants’ held him in a state of involuntary servitude in violation of

the Trafficking Victims Protection Act (“TVPA”).         At no time did Troxel plead a single fact

establishing that R & R knowingly engaged in any form of improper, prohibited or unlawful

coercion violating the TVPA and causing serious harm to Troxel. 18 U.S.C. 1589. Troxel had a

choice, enter state-sponsored rehabilitation or go to prison. Troxel chose D.A.R.P. D.A.R.P.

placed Troxel at R & R. The facts in the Complaint do not support a violation of the TVPA.

Troxel’s involuntary servitude claim should be dismissed.

    II.       Troxel’s human trafficking claims (Count II) should be dismissed.

    Similarly, Troxel’s state human trafficking claim fails and should be dismissed. Plaintiff

does not allege that R & R knowingly engaged in human trafficking. Again, the facts as alleged

by Plaintiff in the Complaint do not support Troxel’s claim that he was unlawfully coerced. 21

O.S. 748 and 748.2. Troxel’s human trafficking claim should be dismissed.

    III.      Alternatively, Troxel’s claims should be dismissed under Rule 19 for failure to
              join a necessary and indispensable party, the State of Oklahoma.

    Rule 19 of the Federal Rules of Civil Procedure requires dismissal of an action where (1) an

absent party claims an interest in the subject matter of a case, i.e. it is “necessary,” (2) joinder of

the absent party isn’t feasible, and (3) in equity and good conscience, the action cannot proceed

without the absent party, i.e. the absentee is “indispensable.” N. Arapaho Tribe v. Harnsberger,




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697 F.3d 1272, 1277-85 (10th Cir. 2012). The State of Oklahoma is a necessary and

indispensable party for Troxel’s involuntary servitude and state human trafficking claims.

       Because the State of Oklahoma has sovereign immunity, its joinder is not feasible.

The State of Oklahoma is a necessary party under Rule 19(a)(1)(B). It is the State of Oklahoma

who created the rehabilitation program as an alternative to prison. It is the State of Oklahoma

who would be liable for approving D.A.R.P. As a result, it is the State of Oklahoma who is

necessary to defend the propriety of the sentencing alternative and the legitimacy of the

rehabilitation program. However, joinder of the State is not feasible because the State of

Oklahoma is immune from suit with limited exceptions, none of which have been plead in this

case. See id. at 1282, U.S. Const. amend. XI. Litigation of this claim without the State of

Oklahoma ‘s presence effectively destroys the legal validity and effect of the state’s sovereign

immunity. See Republic of Phillipines v. Pimentel, 553 F.2d 890, 894 (10th Cir. 1989). Plaintiff

cannot and does not claim otherwise.

                                          CONCLUSION

       For the reasons set forth above, R & R moves to dismiss Troxel’s claims under Fed. R.

Cov. P. 12(b)(6) and 12(b)(7).

                                             Respectfully submitted,


                                             _s/Terence P. Brennan__________________
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 21st day of December 2017, I electronically transmitted the
attached document to the Clerk of the Court using the ECF System for filing and transmittal of a
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